Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 1 of 39 PageID: 142




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  KEYLA D. BELL, Individually and on
  behalf of all others similarly situated,   Case No: 2:21-cv-13543-KM-MAH

        Plaintiff,                           AMENDED CLASS ACTION
                                             COMPLAINT FOR VIOLATIONS
        v.                                   OF THE FEDERAL SECURITIES
                                             LAWS
  KANZHUN LIMITED, PENG ZHAO,
  YU ZHANG, XU CHEN, and TAO                 JURY TRIAL DEMANDED
  ZHANG,

        Defendants.



      Lead Plaintiff Keyla D. Bell (“Plaintiff”), individually and on behalf of all

other persons similarly situated, by her undersigned attorneys, for her amended

complaint against Defendants Kanzhun Limited (“Kanzhun” or the “Company”),

Peng Zhao, Yu Zhang, Xu Chen and Tao Zhang (“Defendants”), allege the

following based upon personal knowledge as to themselves and their own acts, and

upon information and belief as to all other matters based on the investigation it

conducted by and through her attorneys, which included, among other things, a

review and analysis of: (i) Kanzhun’s public filings with the U.S. Securities and

Exchange Commission (“SEC”); (ii) Kanzhun’s public filings with Chinese

regulatory agencies and its local provincial offices; (iii) public reports and news

articles; (iv) transcripts of Kanzhun’s conference calls; (v) interviews with


                                         1
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 2 of 39 PageID: 143




witnesses with relevant information; and (vi) other publicly-available material and

data identified herein. Plaintiff’s investigation is continuing, and many of the facts

supporting the allegations contained herein are known only to Defendants or are

exclusively within their control or custody. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                          NATURE OF THE ACTION

        1.    This is a class action on behalf of persons or entities who purchased

publicly traded Kanzhun American Depository Shares (“ADS”)1 between June 11,

2021 and July 2, 2021, inclusive (the “Class Period”). Plaintiff seeks to recover

compensable damages caused by Defendants’ violations of the federal securities

laws under the Securities Exchange Act of 1934 (the “Exchange Act”).

        2.    The Cyberspace Administration of China (the “CAC”) is the

government agency responsible for regulating the internet and software applications




1
    American Depositary Shares are U.S. dollar-denominated shares of stock of a
foreign-based company available for purchase on an American stock exchange.
ADSs are issued by depository banks in the U.S. under agreement with the issuing
foreign company.

                                          2
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 3 of 39 PageID: 144




(“apps”), internet/app-based businesses and their activities, and the collection,

storage, and protection of any type of digital information.

      3.     The CAC has broad powers to regulate the activities of internet/app-

related businesses. This includes, among other things, the power to close businesses,

shut down or suspend websites and apps, and to prohibit the business from taking

on customers if the CAC believes the business is violating laws and/or regulations

concerning national security, cybersecurity, data security, and/or personal privacy.

Because the CAC has wide discretion to mete out these punishments, it has

tremendous power to enforce the laws and regulations under its jurisdiction.

      4.     Kanzhun is an online recruitment platform operated in China. It

operated its business on two apps—Boss Zhipin (“Boss”), which manages white-

and gold-collar recruitment and is the primary platform of Kanzhun in terms of users

and revenue contribution, and Dianzhang Zhipin (“Dianzhang”), which manages

blue-collar recruitment. Boss and Dianzhang collect, manage, and use its users’

personal information in the same way. Kanzhun’s business runs almost entirely on

internet-based platforms for all aspects of its operations. As such, Kanzhun’s

operations fall squarely under the regulatory authority of the CAC.

      5.     On May 21, 2021, Kanzhun filed a Registration Statement in

connection with its Initial Public Offering (“IPO”) of 48 million shares for

$19.00/ADS.


                                         3
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 4 of 39 PageID: 145




      6.     The Registration Statement was declared effective on June 10, 2021.

On June 11, Kanzhun’s ADSs started to trade on NASDAQ.

      7.     Kanzhun’s Registration Statement was materially false and misleading

and omitted material facts required to be stated therein.

      8.     Specifically, the Registration Statement failed to inform investors that

three weeks before Kanzhun’s IPO, CAC found that Dianzhang committed

violations concerning cybersecurity and personal privacy, including its illegal

collecting of personal information without consents from users. CAC demanded

Kanzhun to correct its violations in 15 days and submit a rectification report.

Otherwise, CAC would “sanction it according to law.”

      9.     Given CAC is empowered to immediately terminate or suspend an

internet company’s entire business if CAC suspects any violations, the CAC’s

findings created a present and heightened risk that Kanzhun’s entire business could

be suspended or shut down if Kanzhun’s rectifying efforts did not please CAC.

Kanzhun has an affirmative duty to disclose the CAC’s findings and its attendant

risks under the SEC rules. The failure to make these required disclosures rendered

the Registration materially false and misleading.

      10.    The CAC’s undisclosed findings and risks relating to Kanzhun’s apps,

materialized damaging Plaintiff and the Class. On July 5, 2021, Kanzhun revealed




                                          4
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 5 of 39 PageID: 146




that CAC suspended new user registration of Boss, , and demanded Kanzhun to

conduct cybersecurity review.

       11.   This adverse information caused Kanzhun’s ADS price to fall 15%

damaging investors.

       12.   Kanzhun’s average monthly active users (“MAU”) for the third quarter

of 2021 dropped by 5% compared to the second quarter of 2021.To date, the CAC

has yet to allow Boss to resume new user registration.

                         JURISDICTION AND VENUE

       13.   The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

       14.   This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.

§78aa).

       15.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged

misstatements entered and the subsequent damages took place in this judicial

district.

       16.   In connection with the acts, conduct and other wrongs alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities


                                          5
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 6 of 39 PageID: 147




of interstate commerce, including but not limited to, the United States mails,

interstate telephone communications and the facilities of the national securities

exchange.

                                    PARTIES

      17.   Lead Plaintiff, as set forth in the accompanying certification,

incorporated by reference herein, purchased Kanzhun ADSs during the Class Period

and was economically damaged thereby.

      18.   Defendant Kanzhun is incorporated in the Cayman Islands and its head

office is located at 18/F, GrandyVic Building, Taiyanggong Middle Road,

Chaoyang District, Beijing 100020, PRC. Kanzhun’s ADSs trade on NASDAQ

under the ticker symbol “BZ.”

      19.   Defendant Peng Zhao (“Zhao”) served as the Company’s Executive

Officer (“CEO”) and Chairman during the Class Period. Defendant Zhao signed the

Registration Statement.

      20.   Defendant Yu Zhang (“Zhang”) served as the Company’s Chief

Financial Officer and as a Director during the Class Period. Defendant Zhang signed

the Registration Statement.

      21.   Defendant Xu Chen (“Chen”) served as the Company’s Chief

Marketing Officer and as a Director during the Class Period. Defendant Chen signed

the Registration Statement.


                                        6
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 7 of 39 PageID: 148




      22.   Defendant Tao Zhang (“T. Zhang”) served as the Company’s Chief

Technology Officer and as a Director during the Class Period. Defendant T. Zhang

signed the Registration Statement.

      23.   Defendants Zhao, Zhang, Chen, and T. Zhang are collectively referred

to herein as the “Individual Defendants.”

      24.   Each of the Individual Defendants:

            (a)    directly participated in the management of the Company;

            (b)    was directly involved in the day-to-day operations of the

                   Company at the highest levels;

            (c)    was privy to confidential proprietary information concerning the

                   Company and its business and operations;

            (d)    was directly or indirectly involved in drafting, producing,

                   reviewing and/or disseminating the false and misleading

                   statements and information alleged herein;

            (e)    was directly or indirectly involved in the oversight or

                   implementation of the Company’s internal controls;

            (f)    was aware of or recklessly disregarded the fact that the false and

                   misleading statements were being issued concerning the

                   Company; and/or




                                         7
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 8 of 39 PageID: 149




             (g)    approved or ratified these statements in violation of the federal

                    securities laws.

      25.    The senior management of Kanzhun, including Individual Defendants,

participated in the solicitation and sale of Kanzhun ADSs to investors in the IPO,

motivated in part to serve their own and the Company’s financial interests.

      26.    Individual Defendants, along with other Kanzhun senior executives,

attended investor roadshow presentations and met with investment analysts and large

investors in the weeks leading up to the IPO in an effort to persuade investors that

Kanzhun was a worthy investment and solicit investors to purchase ADSs in the IPO,

all to further the financial interests of Kanzhun.

      27.    Defendant Kanzhun is liable for the acts of the Individual Defendants

and its employees under the doctrine of respondeat superior and common law

principles of agency because all of the wrongful acts complained of herein were

carried out within the scope of their employment.

      28.    The scienter of the Individual Defendants and other employees and

agents of the Company is similarly imputed to Kanzhun under respondeat superior

and agency principles.

      29.    Defendant Kanzhun and the Individual Defendants are collectively

referred to herein as “Defendants.”




                                          8
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 9 of 39 PageID: 150




                          SUBSTANTIVE ALLEGATIONS
   A. Kanzhun’s Business

          30.   Kanzhun is the largest online recruitment platform company in China.

It runs two platforms, Boss and Dianzhang. Boss—the primary app of Kanzhun in

terms of users and revenue contribution—manages white- and gold-collar

recruitment, whereas Dianzhang manages blue-collar recruitment. Relying on

Kanzhun’s proprietary technology, these two apps match job seekers directly with

employers without the involvement of any recruitment agents or intermediaries, and

facilitate instant direct chats between the parties. Dianzhang and Boss collect,

manage and use their users’ information in the same way.

          31.   As of March 31, 2021, 85.8 million verified job seekers and 13.0

million verified enterprise users had used Kanzhun. 6.3 million verified enterprises

also had provided its data to Kanzhun. This means Kanzhun possesses enormous

amount of private individual, employment and enterprise data, which essentially

gives a bird’s eye view of entire China’s demographics and economic and social

status.

   B. CAC Is A Powerful Agency Directly Supervised by Chinese
      President

          32.   China connected to the internet in 1994. Since then, the number of

Chinese citizens who use internet and phone apps has grown exponentially. In 2018




                                          9
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 10 of 39 PageID: 151




 alone, China generated 7.6 zettabytes 2 of data, as compared to 6.9 ZB of data

 generated by the U.S. in the same year. Data usage in China is expected to grow to

 48.6 ZB in 2025.

          33.   Recognizing the increasing significance of internet content and data

 security to China, China formed the Cybersecurity Administration of China (the

 “CAC”) in May 2011 to tighten its grip over cybersecurity and regulate and control

 internet content and data in China. In 2014, the Central Committee of CPC formed

 the Central Cyberspace Affairs Commission (formerly known as the Cyberspace

 Affairs Leading Group, “CCAC”) to directly lead the CAC. The Director of CCAC

 is Xi Jinping—CPC General Secretary and President of China. The Office of CCAC,

 the daily operating administrative agency of CCAC, shares the same leadership

 team, working staff and workplace with the CAC, i.e., they are the same agency
                                               3
 under the direct leadership of CCAC.              Xi directed that the CCAC should




 2
      A    zettabyte     (“ZB”)     is    equal    to    a    trillion gigabytes or
     21
 10 (1,000,000,000,000,000,000,000) bytes.
 3
   One governmental agency having two names is a unique mechanism designed by
 the CPC to hide its ultimate control over such agency from other countries. One
 name is used when dealing with other countries on international matters to make
 such agency appear as a normal administrative agency, such as in here the CAC.
 The other name, such as in here the CCAC Office, is used by the CPC in China to
 show the CPC’s authorities and propagate communist agenda. Other examples are
 the State Council Information Office (internally known as the Propaganda
 Department of the CPC Central Committee), and the Taiwan Affairs Office of the
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Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 11 of 39 PageID: 152




 “coordinate major cybersecurity and informatization issues in various fields,

 formulate and implement national cybersecurity and informatization development

 strategies, macro plans, and major policies, and continuously enhance security

 assurance capabilities.”4

       34.    President Xi has consistently stressed the need to protect cybersecurity

 and private personal data. Examples include:

       (a)    On April 19, 2016, presiding over a Cybersecurity and Informatization

              Work Symposium, President Xi expressed his fundamental philosophy

              on cybersecurity and data. Xi described information technology as

              China’s biggest “gate of life”.5 As such, China “needs to keep control

              over its internet development and keep the internet and the nation

              safe.”6 Xi also demanded active scrutiny of existing cybersecurity to

              identify and eliminate risks.




 State Council (internally known as the Taiwan Work Office of the CPC Central
 Committee).
 4
   http://www.cac.gov.cn/2016-02/29/c_1118191115.htm
 5
   In traditional Chinese medicine, this refers to a spot on the lower back that holds
 the Yin and Yang, the origin from which all substances and functions develop. The
 “gate of life” has come to refer to the most fundamental part of a policy, as well as
 its enforcement, operations, and survival.
 6
   http://www.xinhuanet.com//zgjx/2016-04/26/c_135312437.htm
                                          11
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 12 of 39 PageID: 153




       (b)   At an October 9, 2016, CPC Politburo Standing Committee conference

             discussing China’s cyber strategies, President Xi urged China to

             “strengthen the protection of critical information infrastructure” and

             “keep cyberspace secure and cyber data intact, secure and reliable, and

             improve our ability to safeguard cyberspace security.”7

       (c)   During Cybersecurity Week in September 2019, President Xi pledged

             to “safeguard the security of personal information and citizens’ legal

             rights and interests in cyberspace.” 8

       (d)   On March 15, 2021, chairing a meeting of the CPC’s top financial

             advisory and coordination committee, in “unusually strongly worded

             comments,” Xi ordered regulators to “step up” oversight of internet

             platform companies, noting that internet companies need to enhance

             data security.9




 7
   http://cpc.people.com.cn/n1/2016/1010/c64094-28763907.html .
 8
   http://politics.people.com.cn/n1/2019/0916/c1024-31355600.html
 9
           https://fortune.com/2021/03/16/china-xi-jinping-platform-companies-tech-
 internet-crackdown/.
                                         12
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 13 of 39 PageID: 154




      C. To Carry Out President Xi’s Directives, Chinese Congress and
         CAC Have Passed a Series of Laws and Regulations to Protect
         Cybersecurity and Private Personal Data

         35.   Over the past ten years, corresponding to President Xi’s increasing level

 of concern over cybersecurity and private personal data, China has passed a series

 of laws and regulations pertaining to cybersecurity and data protection. To centralize

 regulation and enforcement, upon the formation of the CAC in 2011, the State

 Council, China’s chief administrative authority, authorized the CAC “to manage

 internet content in China and be in charge of supervising and managing the law

 enforcement in this regard to ensure the healthy and orderly development of internet

 information services, protect Chinese people’s … rights and maintain national

 security…”.10 Among the many laws and regulations governing Kanzhun’s business

 operations, at least five relate to cybersecurity and personal data.

         36.   On December 28, 2012, the Standing Committee of the National

 People’s Congress of China published a Decision on Strengthening Information

 Protection on Networks (“Congress Decision”), which first established network

 service providers’ duties to keep personal digital information confidential and safe

 and barred providers from leaking or illegally providing personal information to a




 10
      http://www.cac.gov.cn/2014-08/28/c_1112264158.htm
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Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 14 of 39 PageID: 155




 third party. Violations of the Congress Decision are punishable by monetary fines,

 revocation of business licenses, and/or the closure of websites held in violation.

       37.    The Cybersecurity Law, effective June 1, 2017, prohibits the

 collections of unnecessary information and requires notice and informed consent

 from persons whose data is collected to limit the cybersecurity risks posed by the

 collection, storage, and use of vast amounts of private, personal information not

 essential to the provision of services. Cybersecurity Law provides penalties of

 increasing severity for violations of the law, including the provision of warnings,

 ordering of corrective measures, confiscation of unlawful gains, levying of fines

 against businesses and supervisory personnel, suspension of a business or its

 operations pending correction, closing down of websites, and the revocation of

 permits and business licenses.

       38.    On June 28, 2016, CAC promulgated the Provisions on the

 Administration of Mobile Internet Applications Information Services (the “App

 Provisions”), pursuant to the Congress Decision and the State Council

 Authorization. Under the App Provisions, the app information service providers

 shall implement the information security management responsibilities strictly and

 fulfill their obligations, including protection of users’ information.

       39.    To implement the Cybersecurity Law, on April 27, 2020, the CAC,

 together with another 10 ministries, published the Measures of Cybersecurity


                                           14
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 15 of 39 PageID: 156




 Review (the “CSR Measures”). The CSR Measures outline the process by which the

 CAC will safeguard cybersecurity. CSR Measures provides that “under the

 leadership of CCAC”, the CAC, in conjunction with the other 10 agencies, will

 establish national standards and a process for cybersecurity reviews that will be

 conducted by the Cybersecurity Review Office of the CAC.

         40.   On March 12, 2021, four agencies, including the CAC, jointly

 promulgated the “Provisions on the Scope of Necessary Information for Common

 Types of Common Mobile Internet Applications” (“Provisions on Necessary

 Information”). The preamble and Article 1 of the regulations indicate that they were

 written to implement Article 41 of the Cybersecurity Law, prohibiting the collection

 of more information from a user than is necessary to provide the service.11 Article 5

 of the regulation sets forth 39 different service categories of apps and, for each, sets

 forth the type of information deemed necessary to provide the service. A provider

 who requests information unnecessary to the provision of its service can be reported

 to the agencies for enforcement. The Provisions on Necessary Information took

 effect May 1, 2021.




 11
      http://www.cac.gov.cn/2021-03/22/c_1617990997054277.htm


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Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 16 of 39 PageID: 157




      D. CAC Has the Power to Immediately Suspend or Shut Down A Company’s
         Entire Businesses If It Finds A Violation.

        41.   Authorized by Chinese law and regulations, CAC has the expansive

 power to immediately close or suspend websites and apps, close down businesses,

 revoke business licenses, and/or impose large fines or other draconian penalties if it

 determines that a business is violating any cybersecurity-related law or

 implementing regulation.

        42.   Violations of the laws and regulations cited in the prior section have

 resulted in serious administrative sanctions levied against many thousands of

 persons and businesses. Each year, CAC publishes an annual summary report of

 enforcement actions it took in that year against internet and app companies whose

 practices were found illegal by CAC, alerting the Chinese society to the severe

 consequences if CAC finds any violation. According to these reports, from 2015 to

 2017, the CAC summoned more than 2,200 website operators for administrative

 meetings, shut down over 13,000 websites, and closed nearly 10 million user

 accounts “that had violated relevant laws and regulations.” 12 In 2019 and 2020,

 enforcement actions rose significantly: the number of operators summoned by the




 12
         https://www.scmp.com/news/china/policies-politics/article/2125592/china-
 shuts-down-over-13000-websites-past-three-years;
 http://www.xinhuanet.com/2017-12/24/c_1122158880.htm

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Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 17 of 39 PageID: 158




 CAC for administrative meetings increased from 2,767 in 2019 to 4,282 in 2020;

 warnings were issued to 2,174 websites (2019); 384 websites were suspended in

 2019, sharply increasing to 1,994 in 2020; and regulators shut down 11,767 websites

 in 2019 and a whopping 18,489 in 2020 because they had “violated laws.”13

        43.   The tens of thousands of information services companies that have been

 sanctioned and warned since the CPC took over the CAC in 2014 demonstrate that

 the CAC wielded significant power to direct the actions of businesses, such as

 Kanzhun, that fell within its purview to ensure compliance with all relevant laws and

 regulations. These reports also show that CAC shut down or suspended a company’s

 entire business even though only a part of a company’s business was found violating

 laws and regulations. Chinese major media widely report CAC’s annual summary

 report each time CAC releases it on its website. The Chinese society, from

 enterprises to people from all walks of life, understand the massive power of CAC

 possesses and the severe adverse consequences of disobeying CAC.

      E. Before Kanzhun's IPO, CAC Found That Kanzhun Violated the
         Cybersecurity Law and Ordered Kanzhun to Rectify

        44.   On May 21, 2021, CAC announced on its website its finding that 105




 13
   http://www.cac.gov.cn/2020-02/18/c_1583568767032468.htm (2019);
 https://news.cctv.com/2021/01/30/ARTIbZW8p6fmvDhDnz6tbu8c210130.shtml
 (2020)

                                         17
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 18 of 39 PageID: 159




 apps illegally collected and used personal information.14 Dianzhang, one of the two

 apps that Kanzhun operates, was listed among these culprits. Dianzhang was found

 to have illegally collected and used personal information without users’ consents

 (“2021 CAC Finding”).

         45.   CAC demanded that the named apps, including Kanzhun’s Dianzhang,

 - rectify their violations in 15 days and submit their rectification reports—stamped

 with their official corporate stamps—to CAC. The CAC ordered that “[i]f the

 rectification is not completed within the time limit, our office will sanction [the

 company] according to law.”

         46.   The 2021 CAC Finding is material information to investors. Kanzhun

 was required to rectify its violations of Chinese law and report to CAC by June 5,

 2021. Kanzhun submitted its last amendment to the Registration Statement on Form

 F-1 on June 8, 2021. Kanzhun’s ADSs started to trade on June 11, 2021, only six

 days after the CAC’s rectification deadline.

         47.   CAC had not determined that Dianzhang violations of law were

 rectified by June 8, 2021 when the operative Registration Statement was filed. The

 CAC could not have made such findings in three-day window from when Kanzhun




 14
      www.cac.gov.cn/2021-05/20/c_1623091083320667.htm

                                         18
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 19 of 39 PageID: 160




 submitted its rectification report on June 5, 2021 and when Kanzhun filed its

 operative Registration Statement on June 8, 2021. . As stated above, CAC has the

 power to immediately terminate or suspend an internet company’s entire business if

 CAC finds any violation. Therefore, at the time of the IPO, Kanzhun was faced with

 the present and heightened imminent risk that Kanzhun’s entire business could be

 suspended or shut down.

       48.    Kanzhun fully understood CAC’s authority and the severe

 consequences if Kanzhun could not rectify violations to CAC’s satisfcation. When

 Kanzhun disclosed that its business is subject to supervision and regulation by

 various governmental authorities in China in the Registration Statement, the first

 authority that Kanzhun mentioned was CAC, showing Kanzhun’s understanding of

 CAC’s significance. In the same section of the Registration Statement, Kanzhun also

 acknowledged that a failure to maintain the approvals from a regulatory agency, such

 as CAC “may have a material and adverse impact” on its business. Kanzhun also

 acknowledged that “if user traffic to our online recruitment platform declines for any

 reason, our business and results of operations may be harmed” and that if its apps

 are suspended, “[its] ability to expand [its] user base may be hindered if potential

 users experience difficulties in or are barred from accessing [its] mobile applications.

 Any such incident may adversely affect [its] brands and reputation, business,

 financial condition and results of operations.”


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Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 20 of 39 PageID: 161




       49.   But Kanzhun just went ahead with its IPO without disclosing the 2021

 CAC Finding and its attendant imminent risks. On May 21, 2021, the same day that

 CAC issued the 2021 CAC Finding, Kanzhun filed with the SEC a registration

 statemen on Form F-1, announcing its intent to go public on the U.S. market. On

 June 9, 2021, Kanzhun filed its last amendment on Forms F-1/A. On June 10, 2021,

 SEC declared Kanzhun’s Registration Statement effective. On June 14, 2021,

 Kanzhun filed with the SEC its final prospectus for its IPO on Form 424B4 (the

 “Prospectus”), which forms part of the Registration Statement. In the IPO Kanzhun

 sold approximately 48,000,000 American Depositary Shares (“ADSs”) at $19.00 per

 ADS. for gross proceeds of $912 million.

       50.   The risk quickly materialized. On July 5, 2021, Kanzhun disclosed that

 CAC suspended new user registration of Boss app and demanded Kanzhun to

 conduct cybersecurity review. Kanzhun’s ADS price fell 15% in one day.

       51.   The suspension, as expected, has materially imperiled Kanzhun’s

 business:

       (a)   UBS – “3Q21 earnings review” issued on November 24, 2021, states

       that “[t]he suspension of user registration did slow down the growth of Boss’s

       revenue and cash billings in the near term, due to pressure on new paying user

       conversion and existing contract renewals….we see downside risks if the

       regulatory headwind continues into 2022, especially after Chinese New Year,


                                         20
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 21 of 39 PageID: 162




      which our current forecasts haven’t fully factored in.

      (b)   China Renaissance – “3Q21 preview” issued on November 5, 2021,

      lowering its target price, states that “Impact of extended cybersecurity

      review—We now expect the CAC cybersecurity review to extend through

      end-Dec 2021. Cut 2021E cash billings forecast by 12% to RMB5.0bn and

      revenue by 4% to RMB4.2bn to factor in extended suspension on new user

      registration.”

      (c)   Morgan Stanley – “The New Leader in Online Recruitment” issued on

      August 4, 2021, states that “the cybersecurity review could affect Boss Zhipin

      both operationally and financially in 3Q21, and possibly beyond, mainly as a

      consequence of reduced acquisition of new enterprise users and job seekers

      during the review period. We believe this cybersecurity review introduces

      three new risk elements: (1) uncertain cybersecurity review process period,

      (2) uncertainties surrounding potential restrictions or penalties, if any, and (3)

      uncertain long-term impact.”


                DEFENDANTS’ MATERIALLY FALSE AND
       MISLEADING STATEMENTS DURING THE CLASS PERIOD


      52.   The Registration Statement states that

             “Because we store and process data, some of which contains
      sensitive personal information, we face concerns over the collection,

                                         21
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 22 of 39 PageID: 163




       improper use or disclosure of personal information, which could deter
       current and potential users from using our services, damage our
       reputation, result in legal liability, bring regulatory scrutiny, and in turn
       materially and adversely affect our business, financial condition and
       results of operations.


       53.    This statement is materially false and misleading because it failed to

 disclose that immediately before the IPO, CAC found Kanzhun illegally collected

 and used its users’ personal information and ordered Kanzhun to rectify. Given

 CAC’s immense power to shut down or suspend a company’ entire business,

 Kanzhun’s business was faced with a present, serious and imminent risk of being

 shut down or suspended subject to cybersecurity review if its rectification could not

 satisfy CAC. When Kanzhun chose to speak on this topic, the disclosure must be

 complete and accurate. The disclosure of some nonspecific “concerns” by

 unidentified sources significantly minimized the seriousness of the problems that

 Kanzhun was faced with at the time IPO and is materially false and misleading.

       54.    The Registration Statement also states that

       We have implemented internal procedures and controls to adequately
       protect user data. We utilize a variety of technology solutions to detect
       risks and vulnerabilities in user privacy and data security, such as
       encryption, firewall, vulnerability scanning and log audit. We have
       established stringent internal protocols under which we grant classified
       access to confidential personal data only to limited number of
       employees with strictly defined and layered access right. We strictly
       control and manage the use of data within different internal departments
       and do not share data with external third parties. In addition, we conduct
       regular data security stress tests performed by our information security
       department as well as third-party testing agencies.

                                           22
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 23 of 39 PageID: 164




        55.    This statement is materially false and misleading because Kanzhun

 knew that immediately before the IPO, CAC found Kanzhun illegally collected and

 used its users’ personal information, contrary to Kanzhun’s own representation of

 its stringent personal data protection.

        56.    The Registration Statement also contains a series of regulatory risk

 disclosures, inter alia, that


        We could become a target for regulatory or public scrutiny in the future
        and scrutiny and public exposure could severely damage our reputation
        as well as our business and prospects.

                                    *     *     *
        We are currently not a party to any material legal or administrative
        proceedings. We may from time to time be subject to various legal or
        administrative claims and proceedings arising in the ordinary course
        of business.

                                     *     *     *

        From time to time, we are subject to allegations, and may be party to
        legal claims and regulatory proceedings, relating to our business
        operations and business partners. Such allegations, claims and
        proceedings may be brought by third parties, including users,
        employees, business partners, governmental or regulatory bodies,
        competitors or other third parties, and may include class actions.

                                     *     *     *

        From time to time, the Group is subject to legal proceedings,
        investigations and claims incidental to the conduct of its business. As
        of December 31, 2020 and March 31, 2021, the Group was not involved
        in any legal or administrative proceedings that the Group believes may


                                           23
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 24 of 39 PageID: 165




       have a material adverse impact on the Group’s business, balance sheets
       or results of operations and cash flows.

       57.    These statements are materially false and misleading because they

 failed to disclose that at the time of the IPO, Kanzhun was involved in material

 regulatory proceedings with the CAC concerning its infringement on personal data

 and was faced with a serious and imminent risk of being shut down or suspended

 subject to cybersecurity review if its rectification could not satisfy CAC.

       DEFENDANTS HAD AN AFFIRMATIVE OBLIGATION TO
       DISCLOSE THE OMITTED FACTS IN THE REGISTRATION
       STATEMENT

       58.    Provisions of SEC Regulation S-K govern the duty of affirmative

 disclosure imposed upon filers of various reports under the Securities Act and the

 Securities Exchange Act. Some regulations apply to all filings and others apply

 exclusively to Registration Statements and Prospectuses. In connection with the IPO,

 these regulations imposed on each Defendant the duty to disclose in the Registration

 Statement the 2021 CAC Finding and the attendant risks.

    A. 17 C.F.R. §229.105 – Item 105 (Risk Factors)

       59.    Issuers are obligated to “provide, under the caption ‘Risk Factors,’ a

 discussion of the material factors that make an investment in the registrant or

 offering speculative or risky.” The presentation of risks that could apply generically

 to any registrant or any offering is discouraged. Item 105(a). Where a summary of

 risk factors is required, the issuer should provide “a series of concise, bulleted or

                                          24
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 25 of 39 PageID: 166




 numbered statements that is no more than two pages summarizing the principal

 factors that make an investment in the registrant or offering speculative or risky.”

       60.    At the time of the IPO, Kanzhun was involved in material regulatory

 proceedings with one of the most powerful regulatory agencies in China concerning

 its infringement on personal data. Kanzhun was faced with a present and serious risk

 of its entire business being shut down or suspended subject to cybersecurity review

 if its rectification could not satisfy CAC. This made an investment in ADSs that

 Kanzhun was offering speculative and risky. Thus, Defendants had a duty to disclose

 the 2021 CAC Finding in the Registration Statement under Item 105.

    B. Form F-1 – Item 5(D) (Trend Information)

       61.    SEC Regulation S-K (17 C.F.R. 229.10) provides that Registration

 Statements such as the one filed by Kanzhun on Form F-1 comply with the other

 requirements of Regulation S-K “to the extent provided in the forms to be used for

 registration under the [Securities] Act.” Part I, Item 4(a) of Form F-1 requires

 registrants to furnish the information required by Part I of Form 20-F.

       62.    Part I, Item 5(D) Form 20-F, requires registrants to:

              [D]iscuss, for at least the current financial year, any known

       trends, uncertainties, demands, commitments or events that are

       reasonably likely to have a material effect on the company’s net sales

       or revenues, income from continuing operations, profitability, liquidity


                                          25
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 26 of 39 PageID: 167




       or capital resources, or that would cause reported financial information

       not necessarily to be indicative of future operating results or financial

       condition. (Emphasis added)

       63.    Item 5(D) of Form 20-F “call[s] for the same disclosure as Item 303 of

 Regulation S-K”. 15 And pursuant to Item 303, issuers must disclose actual and

 contemplated regulatory action or “changes in” the “regulatory environment[.]” In

 Re Comm'n Guidance Regarding MD&A of Fin. Condition & Results of Operation,

 Release No. 8350 (Dec. 19, 2003) (the “2003 Guidance”) available at 2003 WL

 22996757, *1 nn.1, 27.

       64.    As a foreign issuer, Kanzhun faces heightened obligations to disclose

 potential governmental or regulatory action in their home country. Item 303

 specifically instructs foreign private registrants to “discuss briefly any pertinent

 governmental economic, fiscal, monetary, or political policies or factors that have

 materially affected or could materially affect, directly or indirectly, their operations




 15
   See also SEC Division of Corporation Finance’s Financial Reporting Manual
 (“FRM”) which provides: “The requirements for MD&A [Management’s
 Discussion & Analysis] are set forth in Item 5 of Form 20-F, under Operating and
 Financial Review and Prospects (sometimes referred to as the OFR). This Item calls
 for the same disclosure as S-K 303 …” FRM §9410.1. FRM §9410.2 further
 provides: “The requirements of Item 5 of Form 20-F are as follows: … d. Trend
 information – Item 5.D.”

                                           26
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 27 of 39 PageID: 168




 or investments by United States nationals.” 17 C.F.R. § 229.303(b) & Instruction ¶9.

       65.    Even a one-time regulatory event, if “reasonably expect[ed]” to have a

 material impact on the company must be disclosed.

       66.    The CAC’s order for Kanzhun to rectify its violations constituted an

 important regulatory event that was reasonably likely to result in harsh penalties

 impacting Kanzhun’s business and financial performance should Kanzhun fail to

 rectify its violations to CAC’s satisfaction. Thus, pursuant to Item 5(D), Kanzhun

 had an affirmative duty to disclose the 2021 CAC Finding and the attendant material

 risksin the Registration Statement.

                             THE TRUTH EMERGES

       67.    On July 5, 2021, Kanzhun issued a press release entitled “KANZHUN

 LIMITED Announces Cybersecurity Review in China” which announced in

 pertinent part:

       pursuant to the announcement posted by the Cyberspace
       Administration of China on July 5, 2021, the Company is subject to
       cybersecurity review by the authority. During the review period,
       “BOSS Zhipin” app is required to suspend new user registration in
       China to facilitate the process.

       The Company will fully cooperate with the PRC government authority
       during the review process. The Company plans to conduct a
       comprehensive examination of cybersecurity risks and continue to
       enhance its cybersecurity awareness and technology capabilities.

       (Emphasis added.)



                                         27
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 28 of 39 PageID: 169




        68.   On this news, Kanzhun’s ADS price fell $5.79 per ADS, or 15%, to

 close at $30.52 per ADS on July 6, 2021, the next trading day, damaging investors.

        69.   As a result of Defendants’ wrongful acts and omissions, and the

 precipitous decline in the market value of the Company’s ADSs, Plaintiff and other

 Class members have suffered significant losses and damages.

                PLAINTIFF’S CLASS ACTION ALLEGATIONS

        70.   Plaintiff brings this action as a class action pursuant to Federal Rule of

 Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other

 than defendants who acquired Kanzhun ADSs publicly traded on NASDAQ during

 the Class Period, and who were damaged thereby (the “Class”). Excluded from the

 Class are Defendants, the officers and directors of Kanzhun, members of the

 Individual Defendants’ immediate families and their legal representatives, heirs,

 successors or assigns and any entity in which Defendants have or had a controlling

 interest.

        71.   The members of the Class are so numerous that joinder of all members

 is impracticable. Throughout the Class Period, Kanzhun ADSs were actively traded

 on NASDAQ. While the exact number of Class members is unknown to Plaintiff at

 this time and can be ascertained only through appropriate discovery, Plaintiff

 believes that there are hundreds, if not thousands, of members in the proposed Class.




                                          28
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 29 of 39 PageID: 170




        72.      Plaintiff’s claims are typical of the claims of the members of the Class

 as all members of the Class are similarly affected by Defendants’ wrongful conduct

 in violation of federal law that is complained of herein.

        73.      Plaintiff will fairly and adequately protect the interests of the members

 of the Class and has retained counsel competent and experienced in class and

 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

 of the Class.

        74.      Common questions of law and fact exist as to all members of the Class

 and predominate over any questions solely affecting individual members of the

 Class. Among the questions of law and fact common to the Class are:

                whether the Exchange Act was violated by Defendants’ acts as alleged

                 herein;

                whether statements made by Defendants to the investing public during

                 the Class Period misrepresented material facts about the business and

                 financial condition of Kanzhun;

                whether Defendants’ public statements to the investing public during

                 the Class Period omitted material facts necessary to make the

                 statements made, in light of the circumstances under which they were

                 made, not misleading;




                                             29
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 30 of 39 PageID: 171




             whether the Defendants caused Kanzhun to issue false and misleading

              filings during the Class Period;

             whether Defendants acted knowingly or recklessly in issuing false

              filings;

             whether the prices of Kanzhun ADSs during the Class Period were

              artificially inflated because of the Defendants’ conduct complained of

              herein; and

             whether the members of the Class have sustained damages and, if so,

              what is the proper measure of damages.

       75.    A class action is superior to all other available methods for the fair and

 efficient adjudication of this controversy since joinder of all members is

 impracticable. Furthermore, as the damages suffered by individual Class members

 may be relatively small, the expense and burden of individual litigation make it

 impossible for members of the Class to individually redress the wrongs done to

 them. There will be no difficulty in the management of this action as a class action.

                         Application of Presumption of Reliance:
                                  Fraud on the Market

       76.    Plaintiff will rely, in part, upon the presumption of reliance established

 by the fraud-on-the-market doctrine in that, among other things: (a) Defendants

 made public statements that were rendered misleading because they failed to



                                           30
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 31 of 39 PageID: 172




 disclose material facts necessary to prevent such statement from being misleading

 during the Class Period; (b) the omissions were material; (c) Kanzhun’s ADSs were

 traded in efficient markets during the Class Period.

       77.    Kanzhun’s ADSs were traded in efficient markets during the Class

 Period for the following reasons: (i) the Kanzhun ADSs were traded on NASDAQ;

 (ii) on average shares representing more than 2.0% of the ADSs’ float were traded

 weekly during the Class Period; (iii) During the Class Period, Kanzhun was followed

 by numerous securities analysts employed by major brokerage firms, including JP

 Morgan, Goldman Sachs, UBS, etc., who wrote reports that were widely distributed

 and publicly available; (iv) Kanzhun met the criteria for eligibility to file an S-3

 Registration Statement during the Class Period; (v) Kanzhun timely filed all required

 annual, quarterly and material event reports with the SEC during the Class Period;

 (vi) Kanzhun regularly communicated with public investors via established market

 communication mechanisms, including through regular dissemination of press

 releases on the national circuits of major newswire services and through other wide-

 ranging public disclosures, such as communications with the financial press and

 other similar reporting services; (vii) the price of Kanzhun ADSs responded quickly

 to incorporate and reflect new public information concerning Kanzhun during the

 Class Period; (viii) more than ten market makers made a market in Kanzhun ADSs

 during the Class Period.


                                         31
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 32 of 39 PageID: 173




       78.     Based on the foregoing, the market for Kanzhun ADSs promptly

 digested current information regarding Kanzhun from all publicly available sources

 and reflected such information in the prices of the ADSs, and Plaintiff and the

 members of the Class are entitled to a presumption of reliance upon the integrity of

 the market.

                     Applicability of Presumption of Reliance:
                                    Affiliated Ute

       79.     Alternatively, Plaintiff and the members of the Class are entitled to the

 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

 of the State of Utah v. United States, 406 U.S. 128 (1972), as the statements made

 by Defendants during the Class Period were misleading for omitting to disclose

 information concerning CAC’s finding and order and the attendant serious and

 imminent risks which rendered statements in the Registration Statement misleading.

       80.     Neither plaintiff nor the Class need prove reliance – either individually

 or as a class – because under the circumstances of this case, which primarily are

 based on omissions of material fact as described above, positive proof of reliance is

 not a prerequisite to recovery, pursuant to the ruling of the United States Supreme

 Court in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 92 S. Ct.

 1456, 31 L. Ed. 2d 741 (1972). All that is necessary is that the facts that Defendants

 withheld be material in the sense that a reasonable investor might have considered

 the omitted information important in deciding whether to buy or sell the subject

                                           32
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 33 of 39 PageID: 174




 security.



                                   COUNT I
   For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                            Against All Defendants


         81.   Plaintiff repeats and realleges each and every allegation contained

 above as if fully set forth herein.

         82.   This Count is asserted against Defendants is based upon Section 10(b)

 of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder

 by the SEC.

         83.   During the Class Period, Defendants, individually and in concert,

 directly or indirectly, disseminated or approved the false statements specified

 above, which they knew or deliberately disregarded were misleading in that they

 contained misrepresentations and failed to disclose material facts necessary in order

 to make the statements made, in light of the circumstances under which they were

 made, not misleading.

         84.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that

 they:

                    employed devices, schemes and artifices to defraud;

                    made untrue statements of material facts or omitted to state

                     material facts necessary in order to make the statements made, in

                                          33
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 34 of 39 PageID: 175




                    light of the circumstances under which they were made, not

                    misleading; or

                   engaged in acts, practices and a course of business that operated

                    as a fraud or deceit upon plaintiff and others similarly situated in

                    connection with their purchases of Kanzhun ADSs during the

                    Class Period.

       85.    Defendants acted with scienter in that they knew that the public

 documents and statements issued or disseminated in the name of Kanzhun were

 materially false and misleading; knew that such statements or documents would be

 issued or disseminated to the investing public; and knowingly and substantially

 participated, or acquiesced in the issuance or dissemination of such statements or

 documents as primary violations of the securities laws. These defendants by virtue

 of their receipt of information reflecting the true facts of Kanzhun, their control

 over, and/or receipt and/or modification of Kanzhun’s allegedly materially

 misleading statements, and/or their associations with the Company which made

 them privy to confidential proprietary information concerning Kanzhun,

 participated in the fraudulent scheme alleged herein.

       86.    Individual Defendants, who are the senior officers and/or directors of

 the Company, had actual knowledge of the material omissions and/or the falsity of

 the material statements set forth above, and intended to deceive Plaintiff and the


                                          34
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 35 of 39 PageID: 176




 other members of the Class, or, in the alternative, acted with reckless disregard for

 the truth when they failed to ascertain and disclose the true facts in the statements

 made by them or other Kanzhun personnel to members of the investing public,

 including Plaintiff and the Class.

        87.    As a result of the foregoing, the market price of Kanzhun ADSs was

 artificially inflated during the Class Period. In ignorance of the falsity of

 Defendants’ statements, Plaintiff and the other members of the Class relied on the

 statements described above and/or the integrity of the market price of Kanzhun

 ADSs during the Class Period in purchasing Kanzhun ADSs at prices that were

 artificially inflated as a result of Defendants’ false and misleading statements.

        88.    Had Plaintiff and the other members of the Class been aware that the

 market price of Kanzhun ADSs had been artificially and falsely inflated by

 Defendants’ misleading statements and by the material adverse information which

 Defendants did not disclose, they would not have purchased Kanzhun ADSs at the

 artificially inflated prices that they did, or at all.

        89.     As a result of the wrongful conduct alleged herein, Plaintiff and other

 members of the Class have suffered damages in an amount to be established at trial.

        90.    By reason of the foregoing, Defendants have violated Section 10(b) of

 the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff




                                              35
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 36 of 39 PageID: 177




 and the other members of the Class for substantial damages which they suffered in

 connection with their purchase of Kanzhun ADSs during the Class Period.

                                     COUNT II
                  Violations of Section 20(a) of the Exchange Act
                        Against the Individual Defendants


       91.    Plaintiff repeats and realleges each and every allegation contained in

 the foregoing paragraphs as if fully set forth herein.

       92.    During the Class Period, the Individual Defendants participated in the

 operation and management of Kanzhun, and conducted and participated, directly

 and indirectly, in the conduct of Kanzhun’s business affairs. Because of their senior

 positions, they knew the adverse non-public information about Kanzhun’s

 misstatement of revenue and profit and false financial statements.

       93.    As officers and/or directors of a publicly owned company, the

 Individual Defendants had a duty to disseminate accurate and truthful information

 with respect to Kanzhun’s financial condition and results of operations, and to

 correct promptly any public statements issued by Kanzhun which had become

 materially false or misleading.

       94.     Because of their positions of control and authority as senior officers,

 the Individual Defendants were able to, and did, control the contents of the various

 reports, press releases and public filings which Kanzhun disseminated in the

 marketplace during the Class Period concerning Kanzhun’s results of operations.

                                           36
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 37 of 39 PageID: 178




 Throughout the Class Period, the Individual Defendants exercised their power and

 authority to cause Kanzhun to engage in the wrongful acts complained of herein.

 The Individual Defendants therefore, were “controlling persons” of Kanzhun within

 the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated

 in the unlawful conduct alleged which artificially inflated the market price of

 Kanzhun ADSs.

       95.    By reason of the above conduct, the Individual Defendants are liable

 pursuant to Section 20(a) of the Exchange Act for the violations committed by

 Kanzhun.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for

 judgment and relief as follows:

       (a)    declaring this action to be a proper class action, designating plaintiff

 as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of

 the Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead

 Counsel;

       (b)    awarding damages in favor of plaintiff and the other Class members

 against all defendants, jointly and severally, together with interest thereon;

       (c)    awarding plaintiff and the Class reasonable costs and expenses

 incurred in this action, including counsel fees and expert fees; and


                                          37
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 38 of 39 PageID: 179




       (d)   awarding plaintiff and other members of the Class such other and

 further relief as the Court may deem just and proper.

                           JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.



 Dated: March 4, 2022                   THE ROSEN LAW FIRM, P.A

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                                        Counsel for Lead Plaintiff




                                         38
Case 2:21-cv-13543-KM-MAH Document 15 Filed 03/04/22 Page 39 of 39 PageID: 180




                          CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of March 2022, a true and correct copy of
 the foregoing AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
 OF THE FEDERAL SECURITIES LAWS was served by CM/ECF to the parties
 registered to the Court’s CM/ECF system.


                                                            /s/Laurence Rosen




                                          39
